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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

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 UNITED STATES OF AMERICA                            :
                                                     : CASE NO. 5:05 CR 131
                                         Plaintiff   :
                                                     :
                       -vs-                          :
                                                     :
 SETH AMODIO                                         : ORDER ACCEPTING PLEA AGREEMENT
                                                     : AND JUDGMENT AND NOTICE OF
                                      Defendant      : HEARING
 -----------------------------------------------     :

UNITED STATES DISTRICT JUDGE LESLEY WELLS


       This case is before the Court on a Report and Recommendation filed by United

States Magistrate Judge James S. Gallas regarding the change of plea hearing and plea

agreement of Seth Amodio which was referred to the Magistrate Judge with the

consent of the parties.

       On 16 March 2005, the government filed a two-count indictment against Seth

Amodio for conspiracy to possess with the intent to distribute and distribution of a

controlled substance in violation of 21 U.S.C. § 846, 21 U.S.C. § 841(a)(1), 21 U.S.C.

§ 841(b)(1)(C) and 18 U.S.C. § 2. On 14 April 2005, a hearing was held in which Seth

Amodio entered a plea of not guilty before Magistrate Judge James S. Gallas. On 27

June 2006, Magistrate Gallas received Seth Amodio’s plea of guilty and issued a Report

and Recommendation (“R&R”) concerning whether the plea should be accepted and a

finding of guilty entered.
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       Neither party submitted objections to the Magistrate Judge's R&R in the ten days

after it was issued.

       On de novo review of the record, the Magistrate Judge's R&R is adopted. Seth

Amodio is found to be competent to enter a plea. He understands his constitutional

rights. He is aware of the charges and of the consequences of entering a plea. There

is an adequate factual basis for the plea. The Court finds the plea was entered

knowingly, intelligently, and voluntarily. The plea agreement is approved.

       Therefore, Seth Amodio is adjudged guilty of Counts One and Eleven in violation

of 21 U.S.C. § 846, 21 U.S.C. § 841(a)(1), 21 U.S.C. § 841(b)(1)(C) and 18 U.S.C. § 2.

       Sentencing will be:

                       12 October 2006 at 2:00 p.m.

                       Courtroom 18-A
                       18th Floor the United States District Court
                       801 West Superior Avenue
                       Cleveland, Ohio 44113


       IT IS SO ORDERED.


                                         /s/Lesley Wells
                                         UNITED STATES DISTRICT JUDGE

Dated: 8 August 2006




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